                               NO. 07-10-0276-CV

                            IN THE COURT OF APPEALS

                       FOR THE SEVENTH DISTRICT OF TEXAS

                                  AT AMARILLO

                                    PANEL A

                               NOVEMBER 23, 2010

                        ______________________________


                 TEXAS DEPARTMENT OF PUBLIC SAFETY, APPELLANT

                                      V.

                        JAKE DEEWAYNE HINDMAN, APPELLEE


                       _________________________________

               FROM COUNTY COURT AT LAW NO. 1 OF PARKER COUNTY;

                NO. CIV-10-0203; HONORABLE JERRY BUCKNER, JUDGE

                        _______________________________

Before CAMPBELL and HANCOCK and PIRTLE, JJ.
                              MEMORANDUM OPINION
	The Texas Department of Public Safety perfected this appeal from the trial court's order reversing the decision of the State Office of Administrative Hearings to suspend the driver's license of Appellee, Jake Deewayne Hindman.  The trial court's order was based on the Department's failure to prove that breath test results were valid and accurate.  After the Department's appellate brief was filed challenging the decision of the trial court in reweighing the evidence and reversing the administrative decision, both parties filed a Joint Motion for Entry of an Agreed Order.  By that motion, which is signed by Hindman and counsel for both parties, the parties agree that the legal issue, the sufficiency of the Breath Test Supervisor's Affidavit, has been resolved in favor of the Department.  In other words, Hindman concedes error in the trial court's decision and agrees with the Department that the trial court's order should be reversed so that his driver's license suspension may go into effect.
	Accordingly, we grant the parties' motion and reverse the trial court's order which had reinstated Hindman's driving privileges and instead render judgment in accordance with the State Office of Administrative Hearings' decision to suspend Hindman's driver's license.  Per agreement of the parties, costs are taxed against the party incurring them.	

							Patrick A. Pirtle
							      Justice



